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February 21, 2024

Hon. Judge Xavier Rodriguez
United States District Judge
United States District Court for the Western District of Texas
San Antonio Division
262 West Nueva Street
San Antonio, Texas 78207

       Re:     Correction to the record in La Union Del Pueblo Entero, et al. v. Abbott, et al.;
               5:21-cv-844-XR

To the Honorable Judge Rodriguez:

Disability Rights Texas represents Plaintiff REV UP-Texas, as well as Ms. Teri Saltzman, an
associational member of REV UP, in the above-referenced case. In accordance with our ethical
duties under Rule 3.03(b) of the Texas Disciplinary Rules of Professional Conduct, and with the
consent of Ms. Saltzman, we write to correct one sentence in each of Ms. Saltzman’s two
declarations filed in this case (see ECF No. 611, Ex. 44 at OCA-APPX-0729, and ECF No. 642-
2, Ex. 10 at 245).

In the concluding sentence in paragraph 15 of both declarations, Ms. Saltzman stated that in the
November 2022 general election, “My mail-in ballot was rejected yet again for an ID-related
reason, and I was again unable to cure the problem online because it again said that I was not a
registered voter.” In her later trial testimony on October 10, 2023, however, Ms. Saltzman testified
that she was informed that her ballot in the November 2022 general election was accepted. Trial
Tr. (10/10/2023) at page 3362 (ECF No. 957).

This inconsistency between Ms. Saltzman’s declarations and her trial testimony was raised in the
appeal of this Court’s summary judgment ruling by the Intervenor Defendant on February 5, 2024,
(Document No. 110-1, Case No. 23-50885). Once aware of this inconsistency, the undersigned
counsel endeavored to determine whether the declarations or trial testimony were in error.

Counsel has now concluded that Ms. Saltzman’s trial testimony was correct and that the last
sentence in paragraph 15 of her declarations—that her November 2022 ballot was rejected—is
incorrect. Counsel asserts that Ms. Saltzman had no intent to deceive the Court, but rather got
confused about what happened in the three elections held in March, May, and November 2022.

Rule 3.03(b) of the Texas Disciplinary Rules of Professional Conduct states, in relevant part, that
“If a lawyer has offered material evidence and comes to know of its falsity, the lawyer shall make
a good faith effort to persuade the client to authorize the lawyer to correct or withdraw the false
evidence.” Ms. Saltzman, upon concluding she was mistaken about her ballot being rejected in
November 2022, authorized counsel to correct the evidence proffered in the last sentence in
paragraph 15 of her declarations. Accordingly, Counsel has filed this letter to correct the record.


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Counsel wishes to advise the Court further that Ms. Saltzman’s declaration is still pending before
this Court as Exhibit 10 in the Response to Defendant’s Motion for Summary Judgment (the Court
has not ruled on Defendant’s motion). See Exhibit 10, attached to ECF No. 642. Ms. Saltzman’s
declaration was also included in the OCA-GH’s Motion for Summary Judgment (ECF No. 611,
Ex. 44 at OCA-APPX-0729); the Court’s ruling in favor of Plaintiffs is, as mentioned above,
currently pending before the Fifth Circuit.

Finally, counsel is, of course, ready to comply with any further order should the Court require
something additional to be filed to correct the record in this case in light of the above. Counsel
will also be filing a copy of this letter with the Fifth Circuit.

                                             Sincerely,

                                              /s/ Lucia Romano
                                             Lucia Romano
                                             Texas State Bar No. 24033013
                                             Peter Hofer
                                             Texas State Bar No. 09777275
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                                             Attorneys for REV UP and Ms. Saltzman


cc:    Clerk, United States Court of Appeals for the Fifth Circuit, re: USA v. Paxton, 23-50885




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                                CERTIFICATE OF SERVICE
   I certify that I electronically submitted a true and correct copy of the above and the

foregoing via the Court’s electronic filing system on the 21st day of February 2024.


                                             /s/ Lucia Romano
                                             Lucia Romano




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